UNITED STA TES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



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MARY K. JONES, Individually and on Behalf :   Civil Action No. 1: l 0-cv-03864-AKH
of All Others Similarly Situated,
                                              CLASS ACTION
                          Plaintiff
                                              [PROP~ ORDER A WARDING
        vs.                                   ATTORNEYS' FEES AND EXPENSES AND
                                              AN A WARD TO PLAINTIFFS PURSUANT
PFIZER INC., et al.,                          TO 15 U.S.C. §78u-4(a)(4)

                          Defendants.



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        This matter having come before the Court on July 30, 2015, on the motion of Lead Counsel

for an award of attorneys' fees and expenses and an award to Plaintiffs for time and expenses

incurred in the action, the Court, having considered all papers filed and proceedings conducted

herein, having found the settlement of this action to be fair, reasonable and adequate, and otherwise

being fully informed in the premises and good cause appearing therefore;

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

         I.    This Order incorporates by reference the definitions in the Stipulation of Settlement

dated as of February 8, 2015 (the "Stipulation") and all capitalized terms used, but not defined

herein, shall have the same meanings as set forth in the Stipulation.

        2.     This Court has jurisdiction over the subject matter of this application and all matters

relating thereto, including all Members of the Class who have not timely and validly requested

exclusion.

        3.     The Court hereby awards Lead Counsel attorneys' fees of$60 million, plus expenses

in the amount of $7,685,497.62. The Court finds that the amount of fees awarded is fair and

appropriate, inclusive of adjustments and bonuses.

         4.    The fees and expenses shall be allocated among other plaintiffs' counsel in a manner

which, in Lead Counsel's good-faith judgment, reflects each such counsel's contribution to the

institution, prosecution, and resolution of the Litigation. The Court intends that the fees awarded

and expenses allowed, as provided in if3, will cover any and all other applications by other Plaintiffs'

Counsel.

         5.     The awarded attorneys' fees and expenses shall be paid to Lead Counsel as follows:

(i) the full amount of expenses ($7,685,497.62) shall be paid immediately upon entry of this Order;

(ii) $20 million of the fee award shall be paid immediately upon entry of this Order; (iii) $20 million

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of the fee award shall be paid 90 days after entry of this Order (approximately midway through the

claims administration process); (iv) the remaining $20 million of the fee award shall be paid upon

the distribution of the Net Settlement Fund to Authorized Claimants pursuant to Part 5 of the

Stipulation.

       6.      The Court finds that, pursuant to 15 U.S.C. §78u-4(a)(4), an award of $13,213 to

Lead Plaintiff Stichting Philips Pensioenfonds and $300 to Class Representative Mary K. Jones is

appropriate.

        7.     The Court, having reviewed the objection to the fee award filed by Scott W. Browne,

incorporates into this Order suggestions made therein.

        IT IS SO ORDERED.



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